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                                                                          Judge Richard A. Jones
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
                                          AT SEATTLE
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10    UNITED STATES OF AMERICA,
                                                          CASE NO. CR14-0165RAJ
11                             Plaintiff
12                       v.                               ORDER OF FORFEITURE
13    JORDAN TRUXELL,
14                             Defendant.
15
16           THIS MATTER having come before the Court on the government’s motion for
17 entry of an order of forfeiture and and the Court having reviewed the motion and the
18 record in the case, and being fully advised, finds,
19           On July 7, 2014, Defendant JORDAN TRUXELL entered into a Plea Agreement
20 with the United States in which the Defendant entered a guilty plea to the offenses
21 charged in Counts 1 – 4 of the Indictment, Conspiracy to Distribute Controlled
22 Substances by Means of Internet, in violation of Title 21, United States Code, Sections
23 823(f), 841(h)(1), 841(b)(1)(E), and 846; Conspiracy to Distribute Controlled Substances,
24 in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(E), and 846;
25 Conspiracy to Introduce Misbranded Prescription Drugs Into Interstate Commerce, in
26 violation of Title 21, United States Code, Sections 331(a), 333(a)(2), 353(b)(1), and
27 Title 18, United States Code, Section 2; Conspiracy to Commit Money Laundering, in
28 violation of Title 18, United States Code, Sections 1956(a)(1) and (h), and further agreed
     ORDER OF FORFEITURE - 1                                                    UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     U.S. v. Jordan Truxell (Case No. CR14-0165RAJ)                              SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
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 1 to forfeit to the United States a money judgment totaling two hundred sixty-two
 2 thousand, seven hundred seventy-nine dollars ($262,779.00), representing proceeds
 3 obtained as a result of the offenses charged in Counts 1-4 of the Indictment, and
 4           Rule 32.2(c)(1) provides that “no ancillary proceeding is required to the extent that
 5 the forfeiture consists of a money judgment,”
 6           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
 7 DECREED that the Defendant shall forfeit to the United States:
 8           A Money Judgment totaling Two Hundred Sixty-Two Thousand, Seven Hundred
             Seventy-Nine Dollars ($262,779.00), representing proceeds obtained as a result of
 9
             the offenses charged in Counts 1 – 4 of the Indictment,
10
11 which is subject to forfeiture pursuant to Title 21, United States Code, Section 853, and
12 Title 18, United States Code, Section 982(a)(1).
13           IT IS FURTHER ORDERED that the United States District Court shall retain
14 jurisdiction in the case for the purpose of enforcing this Order;
15           IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(4), this Order of
16 Forfeiture shall become final as to the defendant as of the time of sentencing, and shall be
17 made part of the sentence and included in the judgment;
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     ORDER OF FORFEITURE - 2                                                    UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     U.S. v. Jordan Truxell (Case No. CR14-0165RAJ)                              SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
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 1           IT IS FURTHER ORDERED that the United States may, at any time, move
 2 pursuant to Rule 32.2(e) to amend this Order of Forfeiture to substitute property having a
 3 value not to exceed $262,779.00 to satisfy the money judgment in whole or in part; and
 4           The Clerk of the Court is directed to send a copy of this Order of Forfeiture to all
 5 counsel of record.
 6           IT IS SO ORDERED.
 7           DATED this 24th day of July, 2015.
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 9                                                       A
10                                                       The Honorable Richard A. Jones
11                                                       United States District Judge

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     ORDER OF FORFEITURE - 3                                                    UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     U.S. v. Jordan Truxell (Case No. CR14-0165RAJ)                              SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
